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                               UNITED STATES DISTRICT COURT
                               SOUTHERN DISTRICT OF FLORIDA

                       CASE NO. 17-80495-CIV-MARRA/MATTHEWMAN

  CONSUMER FINANCIAL PROTECTION
  BUREAU

         Plaintiff,

  v.

  OCWEN FINANCIAL CORPORATION;
  OCWEN MORTGAGE SERVICING, INC.;
  and OCWEN LOAN SERVICING, LLC

        Defendants.
  _____________________________________/

                      ORDER ON NOTICE OF VOLUNTARY DISMISSAL

         This Cause is before the Court upon pro se Interested Party Patrick Farrell’s Notices of

  Voluntary Dismissal of Pro Se Complaint (DE 355 & 399).

         The Interested Party filed a notice of amici curiae in and for case no. 9:17-CV-80495 and

  case no. 9:17-CV-80496 as a Motion for Monetary Relief, stating his case was a perfect example

  of the Plaintiff Consumer Financial Protection Bureau’s complaint. The Interested Party moved

  this Court to appoint Plaintiff herein counsel to get him relief. In his notice, the Interested Party

  attached his case and complaint filed in the Circuit Court and Twentieth Judicial District in and

  for Lee County, Florida.

         The Interested Party explains his complaint was scanned but not accepted and indicates

  that he voluntarily dismisses his attempt at a lawsuit.

         The Interested Party has twice filed a Notice of Voluntary Dismissal and has requested that

  he stop receiving copies of notices and orders. There has been no objection to either Notice of

  Voluntary Dismissal.
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         Accordingly, it is hereby ORDERED AND ADJUDGED that the Clerk shall DROP

  Patrick Farrell as an interested party and cease sending him copies of notices and orders.



          DONE AND ORDERED in Chambers at West Palm Beach, Palm Beach County, Florida,
  this 25th day of June, 2019.




                                                               KENNETH A. MARRA
                                                               United States District Judge
